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 5                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WASHINGTON
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 7   UNITED STATES OF AMERICA,                   No.   4:15-CR-6010-EFS-4

 8                                Plaintiff,
                                                 ORDER GRANTING DEFENDANT’S
 9                 v.                            MOTIONS TO MODIFY CONDITIONS OF
                                                 PRE-TRIAL RELEASE
10   MACARIO ROSALES SANCHEZ,

11                                Defendant.

12

13           Before the Court are Defendant Macario Rosales Sanchez’s First

14   Motion to Modify Conditions of Release, ECF No. 140, and Second Motion

15   to Modify Conditions of Release, ECF No. 141.1 On January 15, 2016,

16   Magistrate Judge John T. Rodgers held a bail hearing as to Mr. Sanchez

17   and set conditions of release. ECF Nos. 54 & 65. On November 9, 2016,

18   Mr. Sanchez entered a guilty plea, and the Court ordered Mr. Sanchez

19   released pending sentencing on the same conditions previously imposed.

20   ECF Nos. 134 & 135.

21           In his first motion to modify conditions of release, Defendant

22   requests that the Court remove the requirement that he wear an ankle

23   bracelet. Mr. Sanchez has been in compliance with the conditions of

24   pre-trial release, and the Probation Office has indicated that it does

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     1 While these motions are labeled “first” and “second,” the Court notes that
26   Defendant has filed motions to modify conditions of release on three prior
     occasions. See ECF Nos. 72, 102 & 104



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 1   not think that the ankle monitor requirement is necessary. Defendant

 2   indicates   that   the    United    States    Attorney’s      Office    also   has   no

 3   objection. The Court notes that an ankle bracelet requirement was

 4   never expressly imposed. See ECF No. 65. Instead, a curfew requirement

 5   was imposed, and the Probation Office understood this requirement to

 6   include an ankle monitor requirement. Accordingly, because the ankle

 7   bracelet    requirement    was     never   expressly     imposed,      there   are   no

 8   objections to removing the bracelet, and the Probation OFfice does not

 9   believe that the requirement is necessary, the Court finds good cause

10   to remove any requirement that Defendant wear an ankle bracelet.

11        The Probation Office has requested that, if the ankle bracelet

12   requirement is removed, the curfew requirement also be removed because

13   monitoring a curfew condition without the aid of an ankle monitor is

14   an onerous requirement for Probation. In the past, the Court has twice

15   modified Mr. Sanchez’s curfew requirement in order to accommodate the

16   Defendant. See ECF Nos. 81 & 103. Because the Court has removed the

17   ankle monitoring requirement and continuing the curfew requirement

18   without such a monitor will be both burdensome to Probation and costly

19   to the public, the Court finds good cause to grant Probation’s request

20   and remove the curfew requirement as well.

21        In his second motion, Defendant seeks permission to travel to

22   Leavenworth, Washington from December 16, 2016, to December 19, 2016,

23   in order to celebrate the holidays with his family. As the Defendant

24   is no longer subject to a curfew and Leavenworth, Washington is in the

25   Eastern District of Washington, Defendant’s conditions of pre-trial

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 1   release no longer restrict travel to Leavenworth. The Court denies the

 2   motion as moot.

 3           Accordingly, IT IS HEREBY ORDERED:

 4           1.       Defendant’s Motion to Modify Conditions of Release, ECF

 5                    No. 140, is GRANTED.

 6           2.       Any requirement that Defendant wear an ankle monitor is

 7                    removed. The related curfew requirement is also removed.

 8           3.       Defendant’s Motion to Modify Conditions of Release, ECF

 9                    No. 141, is DENIED AS MOOT.

10           4.       Under Defendant’s conditions of pre-trial release, he may

11                    travel to Leavenworth, Washington. He may not travel beyond

12                    the Eastern District of Washington.

13           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

14   Order and provide copies to all counsel and the U.S. Probation Office.

15           DATED this         30th    day of November 2016.

16
                                        s/Edward F. Shea
17                                         EDWARD F. SHEA
                                Senior United States District Judge
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